                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:06-CR-136
 V.                                                )       (PHILLIPS/SHIRLEY)
                                                   )
                                                   )
                                                   )
 ROBERT HICKMAN                                    )

                       ORDER OF DETENTION PENDING TRIAL


               A detention hearing was held in this case on October 25, 2006. W. Brownlow

 Marsh, Assistant United States Attorney, was present representing the government, and

 Christopher Oldham was present representing the defendant. Before the hearing began,

 counsel for the defendant stated that the defendant wished to waive his right to a detention

 hearing at this time and reserve the right to have a hearing at a later date, if appropriate.

 Pursuant to the defendant signing a Waiver of Detention Hearing, the defendant is to be

 detained. 18 U.S.C. § 3142(f)(2)(B). The government stated they had no objections. The

 defendant was present and stated that he knew he would remain in jail pending trial. For

 good cause, and by agreement of the defendant, this detention hearing is waived and the

 defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure his appearance in court and the safety of the community. The


Case 3:06-cr-00136-TWP-CCS         Document 23         Filed 10/25/06   Page 1 of 2    PageID
                                         #: 10
 defendant knows that if his detention hearing is waived he will remain in custody while it is

 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing.

               For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained.;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for private
                      consultation with counsel; and

               (4)    On order of a court of the United States or on request of an
                      attorney for the government, the person in charge of the
                      corrections facility in which the defendant is confined
                      deliver the defendant to a United States marshal for the
                      purpose of an appearance in connection with any court
                      proceeding.


                                    ENTER:

                                        s/C. Clifford Shirley, Jr.
                                    United States Magistrate Judge




                                              -2-


Case 3:06-cr-00136-TWP-CCS         Document 23       Filed 10/25/06    Page 2 of 2     PageID
                                         #: 11
